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FILED

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS NOV 25 2019
MIDLAND-ODESSA DIVISION CLERK, U.S, DISTRICT CLERK
veSTER ISTRICT OF TEXAS
UNITED STATES OF AMERICA ) x
) DEPUTY
VS. ) CR.NO. MO-19-MJ- 49 ¥-6|
)
JOHN GENE MITCHELL )

APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

Comes now the United States of America and respectfully represents that the above case
is set for court proceedings instanter; that the Defendant is incarcerated and is now in the custody
of Martin County Jail, Stanton, Texas.

Wherefore, the Government prays that this Court issue an order directing the Clerk of the
Court to issue a Writ of Habeas Corpus Ad Prosequendum addressed to Sheriff of Martin County,
Martin County Jail, Stanton, Texas commanding him to surrender the said Defendant into the
custody of the United States Marshal for the Western District of Texas, or his duly authorized
representative, and directing said Marshal to bring said Defendant to Federal Court, Midland,
Texas, instanter. for the purpose of said proceedings, and any further proceedings to be had

in this cause.

JOHN F. BASH
UNITED STATES ATTORNEY

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GLENN HARWOOD

Assistant United States Attorney
400 W. Illinois, Suite 1200
Midland, Texas 79701
432-686-4110

432-686-4131 FAX
